JS44 (Rev. 11/04)
                      Case 2:20-cv-03814-MCA-MAH    Document 1 Filed 04/08/20 Page 1 of 10 PageID: 1
                                               CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose if initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I (a) PLAINTIFFS                                                                                            DEFENDANTS
3M COMPANY.
                                                                                                            TECNICAM, S.R.L a/k/a CAM, TECNICAM, INC., and CAMPAK, INC.

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF                                                           COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT        ESSEX
                                                                                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                              NOTE:  IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                   TRACT OF LAND INVOLVED
(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                                                    ATTORNEYS (IF KNOWN)

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II. BASIS OF JURISDICTION (PLACE AN “X” IN ONE BOX ONLY)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES        (PLACE AN “X” IN ONE BOX
                                                                                              (For Diversity Cases Only)  FOR PLAINTIFF AND ONE FOR DEFENDANT

       1 U.S. Government                  3 Federal Question
                                                                                                                                                                                                             PTF        DEF
         Plaintiff                          (U.S. Government Not a Party)                                                           PTF         DEF
                                                                                         Citizen of This State                        1           1         Incorporated or Principal Place                        4        4
                                                                                                                                                             of Business in This State
       2 U.S. Government                  4 Diversity                                    Citizen of Another State                       2           2       Incorporated and Principal Place                       5        5
         Defendant                          (Indicate Citizenship of                                                                                         of Business in Another State
                                             Parties in Item III)
                                                                                         Citizen or Subject of a                        3           3       Foreign Nation                                         6        6
                                                                                          Foreign Country

IV. NATURE OF SUIT                                         (PLACE AN x IN ONE BOX ONLY)
          CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                             BANKRUPTCY                               OTHER STATUTES
   110 Insurance                       PERSONAL INJURY             PERSONAL INJURY                        610 Agriculture                          442 Appeal                             400 State
   120 Marine                            310 Airplane                362 Personal Injury –                620 Other Food & Drug                        28 USC 158                             Reapportionment
   130 Miller Act                        315 Airplane Product            Med Malpractice                  625 Drug Related Seizure of              423 Withdrawal                         410 Antitrust
   140 Negotiable Instrument                 Liability               365 Personal Injury –                    Property 21 USC 881                      28 USC 157                         430 Banks and Banking
   150 Recovery of Overpayment           320 Assault, Libel &            Product Liability                630 Liquor Laws                                                                 450 Commerce/ICC Rates/etc.
       & Enforcement of                      Slander                 368 Asbestos Personal                640 R.R. & Truck                           PROPERTY RIGHTS                      460 Deportation
Judgment                                 330 Federal Employers’          Injury Product                   650 Airline Regs                                                                470 Racketeer Influenced and
                                                                                                                                                   820 Copyrights
   151 Medicare Act                          Liability                   Liability                        660 Occupational                                                                    Corrupt Organizations
                                                                                                                                                   830 Patent
   152 Recovery of Defaulted             340 Marine                                                           Safety/Health                                                               480 Consumer Credit
                                                                                                                                                   840 Trademark
       Student Loans                     345 Marine Product        PERSONAL PROPERTY                      690 Other                                                                       490 Cable/Sat TV
       (Excl. Veterans)                      Liability               370 Other Fraud                                                                                                      810 Selective Service
                                                                                                                                                     SOCIAL SECURITY
   153 Recovery of Overpayment           350 Motor Vehicle           371 Truth in Lending                                                                                                 850 Securities/Commodities
                                                                                                                       LABOR                       861 HIA (139ff)
       of Veteran’s Benefits             355 Motor Vehicle           380 Other Personal                                                                                                       Exchange
                                                                                                           710   Fair Labor Standards              862 Black Lung (923)
   160 Stockholders Suits                    Product Liability           Property Damage                                                                                                  875 Customer Challenge
                                                                                                                 Act                               863 DIWC/DIWW (405(g))
   190 Other Contract                    360 Other Personal          385 Property Damage                                                                                                      12 USC 3410
                                                                                                           720   Labor/Mgmt.                       864 SSID Tile XVI
   195 Contract Product Liability            Injury                      Product Liability                                                                                                890 Other Statutory Actions
                                                                                                                 Relations                         865 RSI (405(g))
   196 Franchise                                                                                                                                                                          891 Agricultural Arts
                                                                                                           730   Labor/Mgmt.                                                              892 Economic Stabilization
         REAL PROPERTY                       CIVIL RIGHTS               PRISONER PETITIONS                       Reporting &                        FEDERAL TAX SUITS                         Act
      210 Land Condemnation                441 Voting                     510 Motions to Vacate                  Disclosure Act                                                           893 Environmental Matters
                                                                                                           740   Railway Labor                     870 Taxes (U.S. Plaintiff
      220 Foreclosure                      442 Employment                     Sentence                                                                                                    894 Energy Allocation Act
                                                                                                                 Act                                          or Defendant)
      230 Rent Lease & Ejectment           443 Housing/                       Habeas Corpus:                                                                                              895 Freedom of Information Act
                                                                                                           790   Other Labor                       871 IRS – Third Party
      240 Torts to Land                        Accommodations             520 General                                                                                                     900 Appeal of Fee Determination
                                                                                                                 Litigation                            26 USC 7609
      245 Tort Product Liability           444 Welfare                    535 Death Penalty                                                                                                   Under Equal Access to
      290 All Other Real Property          445 Amer. w/Disabilities       540 Mandamus & Other             791   Empl. Ret. Inc.                                                              Justice
                                               Employment                 550 Other                              Security Act                                                             950 Constitutionality of
                                           446 Amer. w/Disabilities       555 Prison Condition                                                                                                State Statutes
                                               Other                                                                                                                                      890 Other Statutory
                                           440 Other Civil Rights                                                                                                                             Actions

V.       ORIGIN                                         (PLACE AN x IN ONE BOX ONLY)                                            Transferred from                                                Appeal to District
          1 Original                  2     Removed from        3 Remanded from                     4     Reinstated or            5 another district                 6   Multidistrict           7 Judge from
              Proceeding                    State Court            Appellate Court                        Reopened                     (specify)                          Litigation                  Magistrate Judgment

VI.      CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing. (Do not cite jurisdictional statutes unless diversity):
                        28 U.S.C. 1332_______________________________________________________________________________________________________________________________________________________
                        Brief description of cause: Breach of Contract by Defendants TECNICAM, S.R.L a/k/a CAM, TECNICAM, INC., and CAMPAK, INC.

VII.     REQUESTED IN               CHECK IF THIS IS A    CLASS ACTION                   DEMAND $ 157,426                                               Check YES only if demanded in complaint:
         COMPLAINT:                     UNDER F.R.C.P. 23                                                                                               JURY DEMAND               YES                   NO

VIII. RELATED CASE(S)               (See instructions):
      IF ANY                                                    JUDGE     _________                                             DOCKET NUMBER __________________


DATE ____April 8, 2020_________                            SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY
RECEIPT #                                                 AMOUNT                                  APPLYING IFP                               JUDGE                                    MAG. JUDGE

UNITED STATES DISTRICT COURT                                                                              1020518
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                  :
3M COMPANY                                        :   COMPLAINT AND DEMAND FOR
3M Center                                         :   JURY TRIAL
St. Paul, Minnesota, 55144                        :
                                                  :   Case No.:
              Plaintiff,                          :
                                                  :
       v.                                         :
                                                  :
TECNICAM, S.R.L a/k/a CAM                         :
119 Naylon Avenue                                 :
Livingston, NJ 07309                              :
                                                  :
and                                               :
                                                  :
TECNICAM, INC.                                    :
119 Naylon Avenue                                 :
Livingston, NJ 07309                              :
                                                  :
and                                               :
                                                  :
CAMPAK, INC.                                      :
119 Naylon Avenue                                 :
Livingston, NJ 07309                              :
                                                  :
              Defendants.                         :
                                                  :

                                 PLAINTIFF’S COMPLAINT

       Plaintiff, 3M Company. (“3M”) brings this Complaint against Tecnicam, S.r.l./CAM,

Tecnicam, Inc., and Campak, Inc. (collectively “Defendants”), stating as follows:

                                           PARTIES

       1.     3M is a Delaware corporation, with principal place of business in St. Paul,

Minnesota.
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       2.      Tecnicam, S.r.l., a/k/a CAM, (“CAM”) is a multi-national business entity engaged

in the business of designing and manufacturing automatic packaging machines with offices

located at 119 Naylon Avenue, Livingston, New Jersey 07039.

       3.      Tecnicam, Inc. (“Tecnicam”) is a corporation organized and existing under New

Jersey law, which regularly conducts business in New Jersey with a registered agent and office

located at 119 Naylon Avenue, Livingston, New Jersey 07039.

       4.      Campak, Inc. (“Campak”) is a corporation organized and existing under New

Jersey law, which regularly conducts business in New Jersey with a registered agent and office

located at 119 Naylon Avenue, Livingston, New Jersey 07039.

       5.      Tecnicam, S.r.l./CAM, Tecnicam, Inc. and Campak, Inc. are referred to herein

collectively as the “Defendants.”

                                JURISDICTION AND VENUE

       6.      Federal jurisdiction exists pursuant to 28 U.S.C. §1332, because there is complete

diversity of citizenship between Plaintiff and Defendants, and the amount in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs.

       7.      Venue is proper in the District of New Jersey because a substantial part of the

events or omissions on which the claims are based occurred in the District of New Jersey.

                                             FACTS


       8.      On June 30, 2017, 3M placed a Purchase Order with Campak Sales Manager,

Brian Oliver, at Defendants’ office located in Livingston, New Jersey, for custom built,

specialized packaging equipment consisting of a CAM Model RT Overwrapper and SMA80

Case Packer (collectively “Equipment”). The proposed cost of the Equipment was $524,752.




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       9.     On August 16, 2017, 3M suspended the June 2017 Purchase Order due to capital

spending constraints.

       10.    In mid-December, Defendants informed 3M that due to price increases they

would have to re-quote the cost of the Equipment. Defendants submitted a revised quote for the

Equipment. (12/14/2017 Letter and Revised Budgetary Quote from Brian Oliver to George

Louis, attached hereto as Exhibit A).

       11.    Upon acceptance of the revised quote and agreed upon delivery date of October

2018, 3M released the Purchase Order for the Equipment to Defendants and provided Defendants

with a down-payment of $157,426 on the Equipment.

       12.    3M’s Purchase Order Terms specifically stated that “TIME IS OF THE

ESSENCE FOR ALL ORDERS.” (3M Purchase Order Terms, attached hereto as Exhibit B,

Section 2). The Purchase Order Terms further stated that

              “[i]f Seller fails to comply with all of an Order’s Terms or admits its
              inability to meet its financial obligations, or it otherwise becomes
              apparent that Seller will not be able to fulfill its obligations under that
              Order due to Unavoidable Delay or other cause, then 3M may cancel
              an Order at any time by electronic or written notice to Seller without any
              liability of any kind to Seller, in addition to any other legal or equitable
              remedies 3M may have. Id., Section 4.2 (emphasis added).

       13.    Following submission of the Purchase Order, 3M requested a “kick-off” meeting

with Defendants to review the Equipment design and discuss the project schedule.

       14.    On February 6, 2018, Defendants provided 3M with a generic layout for the

Equipment and, even though Defendants requested clarification from 3M on the Equipment

specifications, Defendants did not schedule any meeting with 3M.

       15.    Eventually, a “kick-off” meeting with Defendants was scheduled for February 21,

2018. Margherita Vittuari, Defendants’ Project Manager in Italy, was scheduled to attend via




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Skype. On the day of the scheduled conference, Ms. Vittuari contended she was unable to

connect with the conference call and consequently did not attend. Thus, 3M was unable to

obtain any significant information and the meeting failed to advance the project.

       16.     Subsequent attempts by 3M between February 2018 and May 2018 to schedule a

“kick-off” meeting or otherwise meet with Ms. Vittuari to review the Equipment design also

failed. Despite 3M’s repeated requests, Defendants never provided 3M with any mechanical

design drawings or a schedule for completion of the Equipment.

       17.     In late May 2018, 3M again attempted a meeting with Defendants, this time by

cell phone, in accord with Defendants’ request. Again, Ms. Vittuari, did not appear at the

meeting, nor did Defendants provide 3M with the requested design drawings for the Equipment.

       18.     In early July 2018, although Defendants submitted electrical drawings to 3M, full

mechanical drawings and a schedule for completion were not provided.

       19.     By mid-October 2018, the expected month of delivery, 3M had yet to be provided

with the mechanical specifications for the Equipment or any schedule for its completion, despite

3M’s repeated attempts to communicate with Defendants regarding their progress.

       20.     Due to Defendants’ persistent failure to communicate with 3M regarding the most

basic information on the project’s progress, on October 16, 2018, 3M notified Defendants in

writing that it intended to cancel the order for cause on October 26, 2018, and request a full

refund of all monies paid to Defendants, unless Defendants provided 3M with updated drawings

of the Equipment and video of the Equipment in its current state, by October 23, 2018.

       21.     On October 16, 2018, Defendants confirmed receipt of the cancellation notice and

informed 3M that the new Project Manager, Antonio Ippolito, who had replaced Ms. Vittuari,

had been contacted regarding the issues with the project.




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       22.     On October 17, 2018, 3M again notified Defendants of its intention to cancel the

project for lack of progress and request a full refund, if Defendants failed to provide photo and

video evidence of the Equipment in a near completed state by October 23, 2018.

       23.     A teleconference between 3M and Defendants, including Mr. Ippolito, was

conducted on October 24, 2018. During the meeting, Defendants agreed to provide 3M with an

updated layout and a video detailing the design and operation of the Equipment. Defendants

further agreed to provide regular updates via e-mail, as well as to conduct weekly meetings with

3M to discuss the Equipment status and prevent further delays.

       24.     Defendants thereafter provided 3M with a video simulation of the Equipment,

rather than an actual video of the Equipment in operation, as requested. In early November

2018, 3M requested that its engineers be permitted to visit Defendants’ facility in Italy to view

the Equipment. Although Defendants acknowledged 3M’s request for an on-site visit, 3M never

received approval for the visit and was unable to confirm the state of the Equipment’s

completion.

       25.     A teleconference between 3M and Defendants held mid-December 2018 actually

revealed that no progress had been made on the Equipment since the October 2018 meeting and

that Defendants would not be able to deliver the Equipment until March 2019.

       26.     In late January 2019, Defendants notified 3M of yet another delay, informing 3M

that it would not be able to deliver the Equipment until July 2019.

       27.     On February 26, 2019, 3M sent Defendants a Notice canceling the Purchase Order

for cause, “for failure to make progress or deliver” the Equipment. 3M additionally requested a

full refund of the $157,426 down-payment by no later than March 29, 2019.

       28.     To date, Defendants have failed to refund 3M’s down-payment of $157,426.




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       29.    3M has given Defendants fair notice of its cancellation for cause based on

Defendants breach of the terms of the Purchase Order by failing to timely deliver the Equipment.

       30.    3M has suffered harm as a result of Defendants’ failure to deliver the Equipment

in a timely manner, including but not limited to its down-payment paid to Defendants in the

amount of $157,426.

                           COUNT I – BREACH OF CONTRACT

       31.    Plaintiff 3M incorporates by reference the allegations set forth in paragraphs 1 to

30.

       32.    Defendants breached the terms of the Purchase Order by failing to timely deliver

the Equipment to 3M and/or by making it apparent that they were otherwise unable to fulfill their

obligations due to unavoidable delay.

       33.    As discussed above, Defendants repeatedly failed to communicate with 3M

regarding their progress or otherwise move the project forward. Because the Equipment is

specialized, custom designed machinery, Defendants’ interaction and communication with 3M

was vital to advance the project to completion in a timely manner. Defendants’ repeated delays

and subsequent failure to deliver the Equipment in a timely manner is a clear breach of the

Purchase Order Terms which specifically state that “TIME IS OF THE ESSENCE FOR ALL

ORDERS.” See Exhibit B.

       34.    Defendants’ breach entitles 3M to a full return of the $157,426 paid to Defendants

as a down-payment for the Equipment.

       35.    As a direct result of the breach alleged herein, 3M has suffered monetary

damages, including but not limited to, the down-payment of $157,426.




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       WHEREFORE, Plaintiff 3M demands judgment against Defendants on Count I for the

sum certain of $157,426, together with interest, costs of suit and such other relief as the Court

deems just and proper.

                   COUNT II – BREACH OF IMPLIED COVENANT OF
                        GOOD FAITH AND FAIR DEALING

       36.     Plaintiff 3M incorporates by reference the allegations set forth in paragraphs 1 to

35.

       37.     Defendants breached the implied covenant of good faith and fair dealing under the

Purchase Order by failing to provide the Equipment in accordance with the terms and conditions

of the Purchase Order.

       38.     Defendants breached the implied covenant of good faith and fair dealing because

they failed to timely deliver the Equipment and/or by making it apparent that they were

otherwise unable to fulfill their obligations due to unavoidable delay.

       39.     As a direct result of Defendants’ breach of the implied covenant of good faith and

fair dealing, 3M has suffered monetary damages, including but not limited to, the down-payment

of $157,426.

       WHEREFORE, Plaintiff 3M demands judgment against Defendants on Count II for the

sum certain of $157,426, together with interest, costs of suit and such other relief as the Court

deems just.

                            COUNT III – UNJUST ENRICHMENT

       40.     Plaintiff 3M incorporates by reference the allegations set forth in paragraphs 1 to
39.

       41.     In reliance on Defendants’ conduct and representations, including the Purchase

Order alleged herein, 3M conferred benefits on Defendants.




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       42.     3M conferred the benefits with a reasonable expectation that Defendants would

timely provide 3M with the ordered Equipment.

       43.     3M is entitled to disgorgement of the benefit and enrichment of the down-

payment of $157,426 that Defendants have unjustly received and retained.

       WHEREFORE, Plaintiff 3M demands judgment against Defendants on Count III for

value of benefits conferred, together with interest, costs of suit and such other relief as the Court

deems just.

                                      COUNT IV – FRAUD

       44.     Plaintiff 3M incorporates by reference the allegations set forth in paragraphs 1 to
43.

       45.     Defendants, either individually , jointly and/or severally, knowingly made

material misrepresentations regarding the progress of the Equipment with the intent to deceive

3M.

       46.     At the time 3M placed the Purchase Order and provided the down-payment, it had

no reason to know that Defendants had no intention of completing the Equipment by the agreed

upon date and was otherwise reasonable in relying on information provided by Defendants.

       47.     As set forth above, Defendants intentionally and repeatedly misrepresented and/or

concealed the status of the Equipment to 3M, despite knowing that the Equipment would not be

completed by the agreed upon date of delivery.

       48.     Relying on the false information and misrepresentations made by Defendants, 3M

was induced to provide Defendants with a significant down-payment of $157,426.

       49.     3M has suffered harm and damages, including but not limited to its down-

payment of $157,426, as a result of Defendants intentional misrepresentations regarding their

ability to provide the Equipment in a timely manner.



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       WHEREFORE, Plaintiff 3M demands judgment against Defendants on Count IV for the

sum certain of $157,426, together with interest, costs of suit and such other relief, including

punitive damages, as the Court deems just.

                                 DEMAND FOR JURY TRIAL

       Plaintiff 3M hereby demands a trial by jury on all counts and as to all issues.



                                      Respectfully submitted,

                                      LAVIN, CEDRONE, GRAVER, BOYD & DiSIPIO

                                      BY:            /s/
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                                              Attorneys for Plaintiff, 3M Company

Dated: April 8, 2020




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